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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                     8:08CR281

       vs.
                                                                       ORDER
JOSE A. ROBLEDO,

                      Defendant.


       This matter is before the court on the Motion (Filing No. 177) wherein defendant Jose
Robledo requests the court order defendant’s attorney, Adam Sipple, to turn over all legal
materials to Mr. Robledo.
       IT IS ORDERED:
       The clerk is directed to send to Adam Sipple a copy of the Motion (Filing No. 177).
Adam Sipple shall file a response to said motion on or before July 8, 2014.
       Dated this 30th day of June, 2014.

                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
